                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE


 UNITED STATES OF AMERICA                            )
                                                     )
                                                     )
                                                     )       No. 3:07-CR-51
 V.                                                  )       (PHILLIPS/SHIRLEY)
                                                     )
                                                     )
                                                     )
 VERNON JACKSON                                      )

                        ORDER OF DETENTION PENDING TRIAL


               An initial appearance, arraignment, and detention hearing were held in this case

 on May 8, 2007. David Jennings, Assistant United States Attorney, was present representing

 the government, and Charles Webber was present representing the defendant. Before the

 detention hearing began, counsel for the defendant stated that the defendant wished to waive

 his right to a detention hearing at this time, and reserve the right to have a hearing at a later

 date, if appropriate. Pursuant to the defendant signing a Waiver of Detention Hearing, the

 defendant is to be detained. 18 U.S.C. § 3142(f)(2)(B). The government stated they had no

 objections. The defendant was present and stated that he knew he would remain in jail

 pending trial. For good cause, and by agreement of the defendant, this detention hearing is

 waived and the defendant is detained.

               The defendant is aware of his rights to a prompt detention hearing and to

 require the government to meet its burden of proving that no conditions of release exist

 which will reasonably assure his appearance in court and the safety of the community. The


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 defendant knows that if his detention hearing is waived he will remain in custody while it is

 continued. The defendant acknowledged in open court that he understands his rights and the

 consequences of waiving his detention hearing.

               For good cause shown, the defendant’s request not to contest, and to waive the

 detention hearing is hereby GRANTED.

               It is therefore ORDERED that:

               (1)    Defendant be detained.;

               (2)    Defendant be committed to the custody of the Attorney
                      General for confinement in a corrections facility separate, to
                      the extent practicable, from persons awaiting or serving
                      sentences or being held in custody pending appeal;

               (3)    Defendant be afforded reasonable opportunity for private
                      consultation with counsel; and

               (4)    On order of a court of the United States or on request of an
                      attorney for the government, the person in charge of the
                      corrections facility in which the defendant is confined
                      deliver the defendant to a United States marshal for the
                      purpose of an appearance in connection with any court
                      proceeding.


                                    ENTER:

                                        s/C. Clifford Shirley, Jr.
                                    United States Magistrate Judge




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